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UNITED STATES DlSTRlCT COURT
SOUTHERN DISTRICT OF NEW YORK

 

x
Civil Action No. 21 MC 92 (SAS)

IN RE INITIAL PUBLIC OFFERING

sECURiTiEs LITIGATION 01 Civ.11234(s4'sj;’;;‘“:;; `,:

 

 

 
   

This Document Relates To:
In re Click Commerce, Inc. IPO Sec. Litig.

 

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ORDER AND FINAL JUDGMENT

On the lOth day of September, 2009, a hearing having been held before this Court to
determine: (l) whether the terms and conditions of the Stipulation and Agreement of Settlement
dated April l, 2009 (the “Stipulation”) are fair, reasonable, and adequate for the settlement of all
claims asserted by the Settlement Classes against the Defendants in the respective operative
Complaints now pending in the Actions in this Court (including the above-referenced Action)
under the captions listed on Exhibit A to the Stipulation, including the release of the Defendants
and the Protected Persons from the Settled Claims, and should be approved; (2) whether
judgment should be entered dismissing the Complaints as against the Defendants in each of the
respective Actions only, on the merits and with prejudice in favor of the Defendants and as
against all persons or entities Who are members of the respective Settlement Classes in such
Actions who have not requested exclusion therefrom; (3) whether to approve the proposed
Designation and Plan of Allocation as a fair and reasonable method to allocate the settlement
proceeds among the cases and the members of the Settlement Classes; (4) whether and in what
amount to award Plaintiffs’ Counsel fees and reimbursement of expenses; and (5) whether and in
what amount to award the proposed Settlement Class Representatives and/or Lead Plaintiffs

reasonable time and expense reimbursement (including lost wages) incurred as a result of their

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representation of the Settlement Classes (“PSLRA Award Requests”). The Court having
considered all matters submitted to it at the hearing and otherwise; and it appearing that a notice
of the hearing substantially in the form approved by the Court was mailed to all persons or
entities reasonably identifiable who purchased or otherwise acquired the Subject Securities set
forth on Schedule l to the Notice of Pendency and Proposed Global Settlement of 309 Class
Actions, Motion for Approval of Settlement, Plan of Allocation, Attomeys’ Fees and Expenses,
PSLRA Awards of Reimbursement of Representatives’ Time and Expenses and Settlement
Faimess Hearing (the “Settlement Notice”) in the date ranges set forth in said Schedule l (the
“Settlement Classes” or “Settlement Class Periods”), as shown by the records of the Issuers’
transfer agents at the respective addresses set forth in such records, and that a summary notice of
the hearing substantially in the form approved by the Court was published in the national
editions of The Wall Street Journal, USA Today, and T he New York Times, and once over the PR
Newswire pursuant to the specifications of the Court, and copies of the Settlement Notice were
mailed to all persons or entities who Were identified as potential class members in connection
with the previously terminated settlement or who requested copies as a result of the publication
notice or otherwise, and copies of the Settlement Notice were also made available at
www.iposecuritieslitigation.com; and the Court having considered and determined the fairness,
reasonableness and adequacy of the Settlement, the proposed Designation and Plan of
Allocation, and the fairness and reasonableness of the award of attomeys’ fees and expenses
requested and the PSLRA Award Requests; and all initial capitalized terms used herein having

the meanings as set forth and defined in the Stipulation.
NOW, THEREFORE, lT IS HEREBY ORDERED, ADJUDGED AND DECREED

THAT;

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l. The Court has jurisdiction over the subject matter of this Action, the Lead
Plaintiff(s), Proposed Settlement Class Representative(s), all Settlement Class Members, and the
Defendants, in this Action.

2. The Court finds for the purposes of the Settlement only that the prerequisites for
certification of this Action as a class action under Rule 23 (a) and (b)(3) of the F ederal Rules of
Civil Procedure have been satisfied in that in this Action: (a) the number of Settlement Class
Members herein is so numerous that joinder of all members thereof is impracticable; (b) there are
questions of law and fact common to the members of the Settlement Class herein; (c) the claims
of the Settlement Class Representative(s) herein are typical of the claims of the Settlement Class
sought to be represented; (d) the Settlement Class Representative(s) and Plaintiffs’ Executive
Committee have fairly and adequately represented, and will fairly and adequately represent, the
interests of the Settlement Class herein; (e) questions of law and fact common to the remaining
members of the Settlement Class herein predominate over questions affecting only individual
remaining members of the Settlement Class herein; and (f) a class action is superior to other
available methods for the fair and efficient adjudication of the remaining controversy in this
Action.

3. Pursuant to Rule 23 of the F ederal Rules of Civil Procedure and for the purposes
of the Settlement only, this Court hereby finally certifies this Action as a class action on behalf
of all persons who purchased or otherwise acquired the common stock (the “Subj ect Security”)
of Click Commercc Inc. (“Click Commerce”) during the period June 26, 2000 through December
6, 2000 (the “Click Commerce Settlement Class”). Excluded from the Click Commerce
Settlement Class herein are: (a) each Person, other than a Natural Person, that was identified as a

recipient of an allocation of shares from the “institutional pot” in the IPO or Other Charged

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Offering of any of the 309 Subject Securities, according to a list derived from the final
“institutional pot” list created at the time of each IPO or Other Charged Offering by the lead
Underwriter in that Offering (“Excluded Allocants”); (b) (i) each Person that currently is or
previously was a named defendant in any of the 309 Actions (hereafter “Named Defendant”);

(ii) any attorney who has appeared in the Actions on behalf of a Named Defendant; (iii)
members of the immediate family of any Named Defendant, (iv) any entity in which any
Excluded Allocant or Named Defendant has or during any of the class periods had a majority
interest; (v) the legal representatives, heirs, successors or assigns of any Excluded Allocant or
Named Defendant; and (vi) any director, officer, employee, or beneficial owner of any Excluded
Allocant or Named Defendant during any of the Settlement Class Periods. Notwithstanding the
prior sentence, a person shall not be excluded fiom the Click Commerce Settlement Class herein
merely by virtue of his, her or its beneficial ownership of the securities of a publicly-traded
Excluded Allocant or Named Defendant. Also excluded from the Click Commerce Settlement
Class herein are the persons and/or entities who requested exclusion from every Settlement Class
as listed on Exhibit l annexed hereto.

4. Pursuant to Rule 23 of the F ederal Rules of Civil Procedure and for the purposes
of the Settlement only, the Proposed Settlement Class Representative(s) herein, George Murphy,
is finally certified as Settlement Class Representative(s) in this Action; and the firms comprising
the Plaintiffs’ Executive Committee are finally certified as Class Counsel in this Action.

5. Notice of the pendency of the Actions as class actions and of the proposed
Settlement was given to all Members of the Settlement Classes in all 309 Actions Who could be
identified with reasonable effort, including all members of the Click Commerce Settlement Class

herein. The form and method of notifying the Click Commerce Settlement Class of the

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pendency of this Action as a class action and of the terms and conditions of the proposed
Settlement, including the use of a separate website to identify the alleged artificial inflation
amounts and end of Class Period holding price for the Subject Security, met the requirements of
Rule 23 of the Federal Rules of Civil Procedure, Section 27 of the Securities Act of 1933, 15
U.S.C. § 772-1(a)(7) as amended by the Private Securities Litigation Reform Act of 1995,
Section 21D(a)(7) of the Securities Exchange Act of 1934, 15 U.S.C. § 78u-4(a)(7) as amended
by the Private Securities Litigation Reforrn Act of 1995, due process, Rule 23.1 of the Local
Civil Rules of the United States District Courts for the Southem and Eastern Districts of New
York, and any other applicable law, constituted the best notice practicable under the
circumstances, and constituted due and sufficient notice to all persons and entities entitled
thereto.

6. The Settlement is approved as fair, reasonable and adequate for the settlement of
this Action, and the parties to the Stipulation are directed to consummate the Settlement in
accordance with the terms and provisions of the Stipulation.

7. Except to the extent waived by all parties in writing, the Settlement is conditioned
on entry of an Order and Final Judgment approving the settlements in each and every one of the
Actions.

8. The Complaints in this Action, which the Court finds were each filed on a good
faith basis in accordance with the Private Securities Litigation Reforrn Act of 1995 (the
“PSLRA”) and Rule 1 1 of the F ederal Rules of Civil Procedure, based upon publicly available
information, are hereby dismissed as against all Defendants in this Action and the Bankrupt
Issuers, with prejudice and, except to the extent costs are provided in the Stipulation, without

costs.

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9. Except as provided in paragraphs 10 and 11 below, upon the Effective Date, Lead
Plaintiff(s), the Settlement Class Representative(s) and the Click Commerce Settlement Class
Members in this Action, on behalf of themselves, their heirs, executors, administrators,
successors and assigns are hereby permanently barred and enjoined from filing, commencing,
prosecuting, intervening in or participating in, any and all Settled Claims against any and all of
the Protected Persons in the Actions or in any other proceeding The Settled Claims are hereby
compromised, settled, released, discharged and dismissed as against the Protected Persons on the
merits and with prejudice by virtue of the proceedings herein and this Order and Final Judgment.

10. Lead Plaintiff(s), Proposed Settlement Class Representative(s) and the Click
Commerce Settlement Class Members, upon the Effective Date, are hereby deemed to have
covenanted not to sue the Bankrupt Issuers or Lehman or prosecute any action against the
Bankrupt lssuers or Lehman with respect to any Bankrupt lssuers and Lehman Resolved Claims;
provided, however, that in the event that any Bankrupt lssuers and/or Lehman asserts a claim
against any Lead Plaintiff, Proposed Settlement Class Representative or Click Commerce
Settlement Class Member that otherwise would have been released pursuant to this Paragraph 10,
such Lead Plaintiff, Proposed Settlement Class Representative or Click Commerce Settlement
Class Member shall be permitted to assert defensively (up to the amount of any Bankrupt
lssuer’s or Lehman’s claim, as the case may be) all matters against any Bankrupt lssuer and/or
Lehman that would otherwise have been barred or released pursuant to this Paragraph.

11. The release and injunction referred to in Paragraphs 9 and 10 above shall not bar
any Click Commerce Settlement Class Member from asserting in any other proceeding that

conduct with regard to the allocation of any shares to or by Protected Persons is relevant

evidence in such other proceeding, but shall bar Click Commerce Settlement Class Members in

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their own right from asserting a Settled Claim against the Protected Persons in that other
proceeding The Protected Persons shall retain all rights and defenses with regard to any such
assertion

12. Upon the Effective Date, each of the Protected Persons (except Lehman and the
Bankrupt lssuers) are hereby deemed to have released and forever discharged the Settled
Defendant Claims in this Action, against any Click Commerce Settlement Class Members,
directors and officers of any Click Commerce Settlement Class Member, and the present and
former agents, attorneys and employees of any Click Commerce Settlement Class Member,
acting in such capacity, and each of their respective successors and assigns to the fullest extent
permitted by law.

13. Upon the Effective Date, each of the Protected Persons (except Lehman and the
Bankrupt lssuers) is hereby deemed to have released and forever discharged the Settled Cross
Defendant Claims against any other Protected Person, to the extent described in Paragraphs 26
and 27 of the Stipulation, to the fullest extent permitted by law. Upon the Effective Date, the
Protected Persons are, to the fullest extent permitted by law, deemed to covenant not to sue the
Bankrupt Issuers and/or Lehman and/or a Protected Person or prosecute any action against the
Bankrupt Issuers and/or Lehman and/or a Protected Person with respect to any Settled Cross
Defendant Claims; provided, however, that in the event that a Bankrupt lssuer and/or Lehman
and/or a Protected Person asserts a claim against any Protected Person that otherwise would have
been released pursuant to this Paragraph, such Protected Person shall be permitted to assert
defensively (up to the amount of the Bankrupt lssuer’s and/or Lehman’s and/or the Protected
Person’s claim) all matters against the Bankrupt lssuers and/or Lehman and/ or the Protected

Person that would otherwise have been barred or released pursuant to this Paragraph.

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14. To the fullest extent permitted by law, the Protected Persons are hereby
discharged from all Claims Over by any person or entity, whether arising under state, federal or
common law, based upon, arising out of, relating to, or in connection with the Settled Claims of
any Click Commerce Settlement Class Member. To the fullest extent permitted by law, the
Court hereby bars, enjoins and restrains commencement, enforcement or assertion of all such
Claims Over: (a) against the Protected Persons by any person (except Lehman); and (b) by the
Protected Persons (except Lehman) against any person or entity.

15. To effectuate the protection of Protected Persons contemplated by Paragraph 14
and to compensate for any impairment of any person’s interest in barred Claims Over, the Court
orders that any judgment or award obtained by any shareholder of an lssuer or an lssuer on any
claim arising out of or reasonably flowing from the conduct alleged to be wrongful in these
Actions (except for Section 16(b) claims against any Defendant in litigations previously filed as
of the date of execution of the Stipulation), in this Court, in any federal or state court, or in any
other court, arbitration proceeding, administrative agency proceeding, or other forum in the
United States or elsewhere, including but not limited to claims against Lehman, shall be reduced
by the greater of (i) the amount that corresponds to the percentage of proportionate fault of
Protected Persons adjudged responsible or (ii) the amount allocated to the Action against that
lssuer under the Plan of Allocation in this Settlement.

16. The Defendants have denied and continue to deny any wrongdoing whatsoever
This Order and Final Judgment shall in no event be construed or deemed to be evidence of or an
admission, presumption or concession on the part of any Protected Person of any fault, liability,
coverage or wrongdoing as to any facts or claims asserted in the Actions (or any infirmity in the

defenses that they have asserted or could assert in the Actions), or any other actions or

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proceedings, and shall not be interpreted, construed, deemed, invoked, offered, or received in
evidence or otherwise used against a Protected Person in the Actions, or in any other action or
proceeding whether civil, criminal or administrative Notwithstanding anything contained herein
to the contrary, this Order and Final Judgment may be used by any Person to enforce its terms.

17. The proposed Plan of Designationl and Plan of Allocation2 are approved as fair
and reasonable, and Plaintiffs’ Executive Committee and the Claims Administrator are directed
to administer the Stipulation in accordance with their terms and provisions

18. The Court finds that all parties and their counsel have complied with each
requirement of Rule 11 of the Federal Rules of Civil Procedure as to all proceedings herein.

19. Pursuant to this Court’s October 5 , 2009 Opinion and Order, attomeys’ fees in the
amount of one-third (33-1/3%) of the Settlement amount, net of $46,941,556.96 of litigation
expenses, $27,500,000 of anticipated Administration fees, and a total of $1,303,593.05 in
PSLRA reimbursements awarded to specific plaintiffs, were awarded to Plaintiffs’ Counsel.
Attached hereto as Exhibit 2 is a list showing, for each of the Actions covered by this Court’s
October 5, 2009 Opinion and Order: (i) the Total Designation Amounts for each of the Actions
covered by this Court’s October 5, 2009 Opinion and Order; (ii) the proportionate amounts of the
$27,500,000 reserved for the Administrators’ fees; (iii) the PSLRA Awards, and (iv) the
proportionate amounts of the $46,941,556.96 of litigation expenses awarded. ln this Action,
Plaintiffs’ Counsel are awarded the amounts of attomeys’ fees and litigation expenses as shown

on Exhibit 2 for this Action, which sum the Court finds to be fair and reasonable3 The foregoing

 

l Schedule 2 to Exhibit 1 to Exhibit C of the Stipulation.

2 As set forth in the Notice (Exhibit 1 to Exhibit C of the Stipulation) beginning at page 14.

3 No adjustment shall be made for any spillover to or from this Action’s Total Designation

Amount, as any spillover amount will ultimately go to Members of the Settlement Classes, net of

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fees and expenses shall be paid to Plaintiffs’ Executive Committee from the Gross Settlement
Fund with interest from the date such Settlement Fund was funded to the date of payment at the
same net rate that the Settlement Fund eams. The award of attorneys’ fees shall be allocated
among Plaintiffs’ Counsel by, and in a fashion which in the opinion of, Plaintiffs’ Executive
Committee, fairly compensates Plaintiffs’ Counsel for their respective contributions in the
prosecution of this Action.

20. In making this award of attorneys’ fees and reimbursement of expenses to be paid
from the Gross Settlement Fund, the Court has considered the reasons and facts discussed at
length in the Court’s October 5, 2009 Opinion and Order, including that:

a. Plaintiffs’ Counsel has created a settlement fund which is reflected in the
Total Designation Amount for this Action shown on Exhibit 2 attached hereto, that is already on
deposit and earning interest, and that numerous Click Commerce Settlement Class Members who
submit acceptable Proofs of Claim will benefit from the Settlement created by Plaintiffs’
Counsel;

b. Over seven million copies of the Settlement Notice were disseminated to
putative Settlement Class Members in all 309 Actions7 including 13,474 mailed with
“Frontispieces” specifically directed to members of the Click Commerce Settlement Class,
indicating that Plaintiffs’ Counsel were moving for attomeys’ fees in the amount of up to 33-
1/3% of the Gross Settlement Fund, plus interest, and for reimbursement of expenses in an

amount of approximately $56 Million, plus interest, and approximately only 140 obj ections,

 

the present fee award only, in which case the portion of the fee attributable to such spillover shall
be deemed paid from the spillover’s recipients There shall be no reversion to Defendants by
virtue of any spillover, nor shall any additional fees be paid to Plaintiffs’ Counsel upon any
spillover.

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representing less than a hundredth of one percent of all Settlement Classes, were filed against the
Settlement and/or the fee and expense request set forth in the Settlement Notice;

c. Plaintiffs’ Counsel have conducted the litigation and achieved the
Settlement with skill, perseverance and diligent advocacy;

d. The action involves complex factual and legal issues and was actively
prosecuted over eight years and, in the absence of a settlement, would involve further lengthy
proceedings with uncertain resolution of the complex factual and legal issues;

e. Had Plaintiffs’ Counsel not achieved the Settlement there would remain a
significant risk that the Settlement Classes may have recovered less or nothing from the
Defendants;

f. Plaintiffs' Counsel have committed hundreds of thousands of hours in
litigating the 309 Actions and ultimately achieving the Settlement; and

g. The amount of attomeys’ fees awarded and expenses reimbursed from the
Settlement Fund are fair and reasonable under the circumstances of this Action.

21. Exclusive jurisdiction is hereby retained over the parties and the Click Commerce
Settlement Class Members for all matters relating to this Action, including the administration,
interpretation, effectuation or enforcement of the Stipulation and this Order and Final Judgment,
including any application for fees and expenses incurred in connection with administering and
distributing the settlement proceeds to the members of the Click Commerce Settlement Class,
and for all further proceedings herein relating to the Settlement

22. Without further order of the Court, the parties may agree to reasonable extensions

of time to carry out any of the provisions of the Stipulation.

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23. The Clerl< of the Court is directed to file a true copy of this Order and Final

Judgment in this Action.

Dated: New York, New York

H| Z:\ ,2009

 
    
 

HONORABL§ SHIRA A. SC j ,' LIN
UNlTED STATES DISTRICT JUDGE

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EXHIBIT 1

INRE INITIAL PUBLIC OFFERING SECURITIES LITIGA TION
CIVIL ACTION NO. 21 MC 92 (SAS)

EXCLUSION REOUESTS - ALL SETTLEMENT CLASSES

Donna R. Adams

Fredric L. Aibel (Trust Acct.)

Brad Anselmo

Donner T. Bailey (Deceased) (IRA Acct.)

Richard L. Balser (PMA Acct.)

Richard G. Barrows (IRA Acct.)

Marcelle G. Baumbach

J ames D. Becker

Karen Belsky & Melvin Belsky (Trust Acct.)

Daniel & Mary Ann Bemardi (Joint Acct.)

Mary Ann Bemardi ([RA Acct.)

Noreen Betten & Paul Betten (Joint Acct.)

Gerald T. Bird & Kristine 1. Bird (Joint Acct.)

Markus Blechner

Anthony D. Bogus & Margaret L. Bo gus (Trust Acct.)
Jeffrey J. Bradt

Timothy K. Brady

Dwight G. Brainard (Individual Acct.)

Dwight G. Brainard & Gwendolyn H. Brainard (Joint Acct.)
Eric S. Braley (Roth IRA Acct.)

Marco L. Brew

Robert Browder

Iva H. Brown (lndividual Acct.)

Iva H. Brown (Trust Acct.)

Kevin Brown (IRA Acct.)

Garth R. Budlong

Jean M. Buescher & Robert E. Buescher (Deceased) (Joint Acct.)
Robert Calamari (Trust Acct.)

Angela Cappiello & Augustino Cappiello (Joint Acct.)
Henreitte Clapp & John R. Clapp (Joint Acct.)

John R. Clapp (lndividual Acct.)

CNN lnvestment Co., Inc.

Burton Cohen & Tess Cohen (Trust Acct.)

Linda R. Collings

Stanley Compton

Johri J. Connolly

Beverly J. Cosper (lndividual Acct.)

Beverly J. Cosper & Bruce R. Cosper (Joint Acct.)

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Mary Crehan

Daniel L. Curtis

Anthony D'Agostino & Rose D'Agostino (Deceased) (Joint Acct.)
George Darwin (lndividual Acct.)

George Darwin, Viola D. Darwin, Jeffrey Darwin & Diana Leboeuf (Joint Acct.)
George Darwin & Viola D. Darwin (Joint Acct.)
Melody F. Davenport

Louis Debole & Mary Debole (Joint Acct.)

Dwane L. Decker (Deceased) & Verma Decker (Joint Acct.)
Glenn P. Deltondo & Maria R. Deltondo (Joint Acct.)
hingard Dern

Jerry L. Dieball (]RA Acct.)

Jerry L. Dieball & Karen L. Dicball (Joint Acct.)
Louis A. Diller (IRA Acct.)

Richard T. Dolbeare

Arthur J. Domingue, Jr. (IRA Acct.)

Dale L. Doucet & Evelyn J. Doucet (Joint Acct.)
lraida M. Echeandia

Nancy K. Edenfield (IRA Acct.)

Sylvia M. Edney (Roth IRA Acct.)

Arthur T. Elgin III

Donald F. Erickson, Sr. (Deceased) (IRA Acct.)
Michael J. Fealy (]RA Acct.)

Michael A. Fiorenzo

Douglas C. Flegal (SEP-IRA Acct.)

Daun A. Fondarella & Pat J. Fondarella (Joint Acct.)
J an A. Fulks (Deceased)

George Galvan & Gloria D. Galvan (Joint Acct.)
Gary Nibbelink Associates

John R. Gingles (IRA Acct.)

Miu-Chu W. Gong & Phillip S. Gong (Joint Acct.)
Good Shepherd Church (Operations Acct.)

Good Shepherd Church (Building Fund Acct.)

Ruby T. Gregory

Despina Hatton & John O. Swendseid (Joint Acct.)
Arne E. Heikkila (Deceased)

Carrie L. Higo & Paul H. Higo (Joint Acct.)

Mildred A. Howard & Nelson Howard (Joint Acct.)
Jung-Hsin Hu & Danny T. Tsao (Joint Acct.)
Elizabeth J. Janiszewski (Roth lRA Acct.)

Raymond G. Jan`sch

Mary N. Johnson & Russell L. Johnson (Joint Acct.)
Kevin L. J ones

K & A Mulzer Enterprises LP

J on Kayyem (lndividual Acct.)

Judith W. Kielhofer & Kary D. Kielhof`er (Joint Acct.)

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Bridie Kilduff

Donald A. Kissell (IRA Acct.)

R.J. Kleve (Deceased)

Koch Equity Holdings lnc.

John Kong

Carr C. Kreuger ll (Individual Acct.)

Carr C. Kreuger 11 & Lori L. Krueger (Joint Acct.)
Betty L. Kruchten & Joseph L. Kruchten (Joint Acct.)
Joseph L. Kruchten (Individual Acct.)

Barbara Lawton & Howard E. Lawton (Trust Acct.)
Loreen E. Lej eune & Jonathan H. Wenocur (Joint Acct.)
Deeann M. Limp & Wayne E. Limp (Joint Acct.)
Aloysius W. Little & Virginia C. Little (Trust Acct.)
Gregory T. Little & Virginia C. Little (Joint Acct.)
Tom R. Loffland (Individual Acct.)

Tom R. Loffland (Trust Acct. 1)

Tom R. Loffland (Trust Acct. 2)

George E. Loomis

Arthur F. Luetke

Michael R. Lufrano

Jennings M. Lyon

Domenica M. Macerata

Minh T. Mai (Individual Acct.)

Minh T. Mai (Roth IRA Acct.)

Edward Makarchuk

Thomas G. Mansfield

Curtis E. Marc, Jr.

Larry Matthews

Laveme McCombs & Robert L. McCombs (Joint Acct.)
Mildred E. McLemore & Robert W. McLemore (Joint Acct.)
Robert W. McLemore (lRA Acct.)

Virginia M. McNear

Robert E. Megill (IRA Acct.)

Gail P. Miller & Richard J. Miller (Trust Acct.)
Lenore Miller

Yaichiro Minarni (IRA Acct.)

Yaichiro Minami (Trust Acct.)

John T. Mitchell

J ames M. Monger & Lucille M. Monger (Trust Acct.)
Pamela A. Moore

Andrea H. Mulzer

Kenneth D. Mulzer, Sr. (IRA Acct.)

Kristin J. Mulzer (Individual Acct.)

Kristin J. Mulzer (IRA Acct.)

Billy Murphy

Marilyn A. Murrow (lRA Acct.)

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John A. Newton 111 (IRA Acct.)

Alice B. Newton (lRA Acct.)

Gary D. Nibbelink (Individual Acct.)

Gary D. Nibbelink & Linda A. Nibbelink (1 oint Acct.)
Gary D. Nibbelink & Linda A. Nibbelink (Profit Sharing Acct.)
Linda A. Nibbelink (Individual Acct.)

Anne M. Noonan

Talila G. O'Higgins

Bruce A. Paige & Donna H. Paige (Joint Acct.)

1 ames M. Parker

David B. Pedersen & Diane S. Pedersen (Joint Acct.)
Diane S. Pedersen (1ndividua1 Acct.)

Clara E. Perrin & Clayton J. Perrin (Trust Acct.)
Eusibius Peters

William B. Pettinger (Deceased)

Charles R. Platt

Eugene F. Pleyvak

John A. Primeau (Deceased) & Suzanne C. Primeau (Joint Acct.)
Barb ara P. Radeb augh

M. Rangaraj (401K Acct.)

Boyce A. Ray (Individual Acct.)

Boyce A. Ray (lRA Acct.)

J ames R. Reitnauer

Mark R. Rizzo

Griffen A. RiZzo (Custodial Acct.)

Lester Rose (Trust Acct.)

Dorothy D. Rupel (Trust Acct.)

Sterling M. Ryder

Valerie A. Saines

Patricia G. Salisbury (IRA Acct.)

Evan C. Santistevan

Barbara V. Schugt & H. Dieter Schugt (Joint Acct.)
Ingeborg Schuster

Nancy A. Scott (Roth [RA Acct.)

Bonnie N. Shimasaki & Robert K. Shimasal<i (Joint Acct.)
Albin J. Sircely

J ames P. Slupe

Barton L. Small & Catherine E. Small (Trust Acct.)
Barbara J. Smith (Individual Acct.)

Barbara J. Smith & Thomas F. Smith (Trust Acct.)
Brenda .1. Smith & Nathan J. Smith (Joint Acct.)
Frances Smith (Trust Acct.)

J ames Smith (Deceased) (IRA Acct.)

Thomas F. Smith (lndividual Acct.)

Raymond W. Sperring, Jr. (lRA Acct.)

Raymond W. Sperring 111

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Steven P. Stachwick

Marc G. Stalker & Salena W. Stalker (.1 oint Acct.)
Marlies Starbird

Patricia S. Steele (1ndividua1 Acct.)

Sue Steele (IRA Acct.)

Morgan Stewart

W.J. Sturm (IRA Acct.)

Eric M. Talgo (Individual Acct.)

Eric M. Talgo & Lynda Talgo (Joint Acct.)
Delena R. Tanner

Richard A. Taylor (IRA Acct.)

Mary T. Thayer

Bjom C. Tollerud & Bjorn E. Tollerud (Joint Acct.)
Bjorn E. Tollerud (lndividual Acct.)

Tumer Broadcasting System, lnc.

lrwin Usher (Deceased)

Jeffrey D. Van Gundy

Deborah A. Verginia & Michael D. Verginia (.1 oint Acct.)
Ava N. Walker (lndividual Acct.)

Ava N. Walker (IRA Acct.)

J.W. Walker ([RA Acct.)

Jonathan H. Wenocur (lndividual Acct.)

David E. West

Tony R. Whisenant

Ralph Whited

David A. Windecker (IRA Acct.)

Windecker Family Trust

Mona M. Wolf

Charles Wright, Jr. & Frances L. Wright (Joint Acct.)
Michelle D. Wright

John C. Yancy (401K Acct.)

Arlene Yannece & Ralph Yannece (Joint Acct.)
Youth Help Association lnc.

George E. Zeigler

Farida K. Zreik

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Gm.@m@.f§ §§ ;..S § §§me :@.3§§ 2.@2§~£ oE §§ mm
§.;af~@ §.@S,.§ §§ 54 § §..:a§@ Ow.§a§ mm=oonozmom: mm>§o<m
:®.Sm,_@@§ §.§§ §§ §,@O@.Q§ §.§.§_@ W~.Ow@.§.$ oE §Em>m §><
§.E,NBEDV §.m~w.£§ §.M.Q.Y §.w-i;,@ 5.%3§.; oE < m:zm><
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§.NY,_§@ :e_§,,m.§@ 33 2 w.§._m§ 3_§6%.; oE zoo_mm;>o§<
§.~R..Y§ §.S;...@§ §.w.$.§ 333me R.ESO~.; oE zoo.nm;mo§<
§..%3~§ §.§i%@ 33 §.S§Y §§d§ eve EQED<
B~.%Q,E § §§§§ 83 §.@E._:@ S.R~d§ oE mzmam>m SGEE>~ SE@<
§.$_e.§@ :¢.Ea$~@ §.§.ac §_w§.,£§ @m.w&.§,$ QE mm>mm= Mm<
§.Hamm§ §..§,S§ §.§..§ Q.s.§,__.~§ §.m:e%.$ m@zEno: oaz~<a<
?@.E~.§@ 3a _, 353 §.§,W@ :Q.§,_£@ 3.£3§ oE zoo.§oa:m<
§£§;,. _ 3 §§ _.§@ §.. §.~,@ §..Y,_s-@ §.§n§.§ oE <mE<
Qw.w~.$.@§ §.§.@§ §f§ §.§,_Q@ R.M§.Q§ oE >@oaozmo…; moao§<
§.w,$.§~@ :N.§.@§ §..r.@~.§ §.SE.§ 333§ oE mo~zmeiz<
2 N.EQ§V 22 333 33 §..§f@ OO.@OQ@§ oE mz§zo >QE<
AN».§QD§ §.Qwiw§ §,3@.¢§ §.§s§ §,Q~.§& mozanm moa <woz<a<
@~.;@2.§ §.§§.~.§ §.SN,§ §.Yna.§ s~.§.%@@a oE mE@onozmoE §
A;.$.w.__ amc §.%§§ §.~m.am@ 3~.2~..§@ Q.@O§~S oE SEOBEZ z§$=<
§.YQE§ Qm.-~.d~ § §.3~.§ §.Sa.@§ §.%O.Sn; 550 mzo;<o~z:zzoo §sz
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A§.@§._E§ Gw...§._% _.@ §.§.I@ A__.Q&Y§ OSS.: 1a oE §Em>m EEQ<
8~.3.~,_2~@ §.B.~,@§ 33 52 @ §§N,_m.§ ;.%@.§.w oE mmozm=omo§ <x<ao<
§.Ym,€§ :§~Y§ §..§.§ §..§w.§ E.;a~:i; oE m§o>>§z eme§m,_moo<
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§.23..3§§ Gm.:.§_§ §,33.,§ §.3~._3§ 3.§<.3.3 05 §§ 4<0§¢0
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33.@§._3§ §.3~.§§ G~.NS.,§ §..¢.3.3.§ 3.@§"33 05 0550
§_.r..m§»m~§§ §33,3§ 3.3 @m_§§ § 3.§@.2~.3 05 555>>52 5<5,502 5500
§.3@_$§ §.33§ 52 _ §§ A§.§.§§ G.§~.~§ 05 350052503 50200
2 ~.@.3,,3§ §.@.3,~§ 3.3 §.@,: .m..§ §.@5.33 55 52>§53 :050:>§00
§.@3._3.3,§ 533 §§ §,.§.,§ A___§.S._§§ 35 333 3 05 520 50¢§200
§.3~.$§ §._3“3§ cqm.§.,§ E.§.._§§ 2_33,33.3 05 m§o>imz 5<50
Y,S§.¢§ 3333§ 2 ~.§._§ §..3§§ 3.33.@3.3 §><Q-,,E§ 555>»52 520
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Qm,.§,_%§ §.§r§§ §..§._§ §.§.N§ §.0$33 550 §5:§0
QV..NE._E§ §_§.w.§ 3_3@.§ §.3~§§ 3.3_.@3 05 552/503 §§5550
§..~§§§ §.§.§§ §_§.§ Y.S,E§ §.E~.§$ mzo;<0~z:2200 mzo 555
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2 ~..33.~§ §.¢3,_§§ 3_33._@§ §§ 3§§ 3_§;.§3 922 555750§3 5555$5
§~.33.__,~§ §,.3_,;§ Sw:§ §.§w.§ 33333 05 5…<§53 §§0
Q@.Ym,_§§ §,.§.3§ §.3@.,§ §.~.3,,3§ 22 1303 q<zoF<z¢E5 _ 555555
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: ~.§o._»§ 22 33§ 3333 § §..§f§ 3.@3“33 550 §0052:0§ 555<0
G~,.S¢.,E§ ®@.S..,.._%§ §3~.§ 2333.3§ 3.@;.213 05 50§2200 00§<0
§._3..3§ §.3_.3§ §.§.§ $.§.__ § ;_33.33 05 3533 553<0
§.3~0.,3@.§ §.§A-§ §..3@.§ §,3@;§ 3.§,§~3 05 30555<0
3__0.3\.»3§ §..@3,_3 § §.3~.@§ §~_E§§ §.3®.30.3 05 _>50.>:@
§.3@,_§§ §.§.,3§ 3.33.~ § §,.3.»._3§ 3.@.£.333 550 Y<:omm
§N.Qm._i § §.33..3§ §.3_.~§ §.~.3,~§ 3.3233 05 53 2200 mm<0omm
$@.3~,_: § §,._3.§§ §.3§ §.3~“;§ RSQ§.; 05 mzo§§om ><B<M<m§m
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33,§¢,33 GQBQ:&.$W §§ GQ.RQSQE §§ 33,333 §§ §§=w§n §§ §§
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922.2£._3§ 22:.~2®.32@ 223 §.§.E@ 03@3%222 05 >:mzm;m
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§.322$§ §.§.,2222@ 33 §.§._m~.@ S.SQMO£ 955
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22 ~.2§§§ 22 T..:.Q§V G~.§.,§ §.EQE@ OQSO.SB 55 mm<ziow 5>20>5
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§.?.@..5§ 22¢..€§222@ §.EY 222.@£.£@ ;.§.§~.; 05 z<o2.m2
§.22-._£§ 2532 § § §.SQ§ §.%m%@ H.§§m.; 555 2<205<§555 oEm 2~,2
§.SO.SN@ §.D§§ §.~.22.§ §.QA.§…@ 20.3~2322 mzo;<§z:§§oo 2255
§.@3.2~@ §.§§@ 33 225.¢~.»“@222225 %.§§% 55 555
Sm.w.@w,_§.*.@ §.222§2, § 23.2#.@._2,@ 22~.§.@,22§ :2§.@2»; 05 mm§m§<m
§2.$.@$~@ §.3.22§@ 33 §%%.`2@ 22_§.§2% 55 >z<2252n2.m2
65qu 532 222@..§.§@ §.§._§ 2-.2§2@22,,2 2222§.§.5 05 205.5505535
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Q,w;w_$~@ 25.@@2,%,@ §.@§222§ §.§.@§ @~.$2.0§ 522 5220525:05
§.Y@@§ 2222..3~.2§ §..S.~.§ §§ 2 622 5 S.§d§.g <Ym>5
§.§nm-@ §.§._2§ §.§._2@ §§ 2 .,§2 2.§~“§& 55 w§55
6~.%2.,_®@ 2 5 GQ.§.,.£.@ §.£Q,§ 22 m..§~<.~@ 2@.§2»£ 55 2552§55
2~.2252.~2@ 225 2 335 §.Gm.§ §..§,.E@ S.SQOOS 522 555 2§55
§.~3§§ §.§€@ §..@S.,Y §.§.,§22 ~ERA§ 05 oz<2w2 2§55
§.2.2222@ 2 5 §.§2§2 §.~.§,.2 2-.9: ,_§V S.QS.D£ 555 5555 2555
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SYOQ_@§ § .§.,2222@ §O@Q§ 2;.@@._%@ B.§.SN.; 555 225/255
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§.S§@§ 28_-2.2§ 253 @~§6§ 322§3,22 @2,525 535

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2 @.§~<.§ 25.§@§ §.2§.§ § 2 fnm§ Nm.@-hm§ 05 55252~,2 2>502,22§ 555<55555
§.@.;,_§ § §.2@2.®§ §..N.».~.§ Y,.§§§ 553me mEmS>m 2020<25555 QE§@E5
2~@222~“§§ 2 m.§_.;§ 2 2.~§§ 2@.§.2.§ §.~.S.:Q.; 550 mm§m5
§§ 2 §§ 23 2 D§§ §.S@,§ §.§AE§ R.§.§~,; 550 525052,5025 52§5
G§~Q.£§ 2-.3.0§§ §.S~.§ 22.@_223§ S.SE§ 550 m§on25
2 ~.§@,S§ 2 2 3,§§ 332 .§ §.§§§ S.OOQS$ 05 §055
2 N.§Q~§ 2 2 ~.2§§ 33 2%.§§§ OO.OOQ.O§ 550 <025<25555
2 ¢.O.§,,%§ §.EQS§ 322.§2.§ §.222§§ 333 2 ~.222 955352 555 5<$2>22
2 ~.§.§§ 23 §“§ §.¢,Q.§ 323 § O0.0S.SB 550 2025255>22
2.2>.2§,_€§ 2~@.~8@§ SQG§ §..m@m..@§ 5.§.%£ 05 50<2<2>22
2~@.2@~,$2 § 20.22§.,®§ §.v. 2 § §.§..¢§ S.~£,m§ 550 055<0955 2>2<,"25
§.§..:§ 22.§.§2 § §_§. § SN.§._£ § Q.~Q..NSS 05 535
§§m._: § 2%.$¢..2 § 33 92.§._5§ §.GQSB 05 w.mm>oom
8~.22~§§ 23.%.3~§ 2222.@~2..§ §$,_E§ mm.§.§m.& 550 mmm200< mmm§m 505
2 ~.§2._5§ 2¢..2 3,_§§ §,.§.§ §,.§,.§20 S.§.O§ 05 05¢&@2<5
§.m~§@§ §.2§.22§ 322.@22@..220 232 §§ 2@.%3@0.25 2>50…2§ 595 5
2@2.@.3._€§ §2.§§§ §.2§2.§ 2~\~.$.%§ §£§§ 05 mzo;<02z:zs50 055
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2®.§~.,_£§ 2§.@%,@§ 322_2§ @..w§._§§ 3.@2§§ 05 z§mmmg@
®~.@%,_m§.§ §.§.§Q§ §§ 2@..@§ 2~2“.§22@§ 5.§.§§; 05@5520 1255
23.§22.22§.~222 §.@-.£§ 620.~@~._§ 2~®.§”§§ §.§.223.5 <552<02_0
§.@§“NS,§ §.~%,. §§ §.§2,_§ §.25§:§ 5.£3£.£ 05 m§o>§mz 050~@<@
§ 2 .3~“~2.§ § .§.§§ §,§._§ §,€-2 § S.:m.§.£ 05 f§mm§
23.§,_~2».§ §.q.&n§@.§ 2.5322._§ §..H.~,_S§ Nm.§.§§; 05 $EOBEZ 552,592
2~@.5~§~.§ Sw.§d§ 35 220.2“.£..~§ O~.£m.@§ 550 wzo2k<02za§o0 2<005
a~.%~f § 2£§.>._@§ 2 22 2_ 2 2 2 § @.2§2.,2§22 @0.§“§.:2 05 wzo2,2l<02z5>22>50 55$<2"2
2 52 1530 320.%@.2,§ 2022.5@..§ 2552 h§§ 5.2.2§@£ 05 QZO,EME
§.E.E~§ 2¢,.%~.§§ §§§ 2@.@.§..~§ S.@~QQ 2.; 550 5<555
2 @.w§,_%§ 25.@2@._»§ §..@E_.§ 92 .@~@._m§ m~.&@-& 2>200.5$2»5§

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2-.2§2,_22.0§ 262 232 § §.¢.E._§ 23.~2220.®§ 3222.2222§ 05 mzoxEH<E
222.@.~.22..:2…§ 25...2§§2§ §.S.~§ 242.3~2@§ £.@OQNS.; 55 595 >0055203 25>~2<2
22@.@%,_5§ 2~.2@~§ 2 2.2 2.2§ 220.§~22§ 22~.22223§ 05>22 553me §52<2
28.§2..§.0§ 2522§~§2 § 22~.$~.¢§ 2~§2222h § § $.Sw,~£.~@ 05 2>50.2200<>>5§
G~.E@,,Z§ §§a,~§_§ 225 232 § §§ 2 ._: § Q_$Q§§w 05 <5,252<2
2:...@.%.,~§§ 222 522§ 222.~%.§ 222¢..22%~@~222 2m.22§.@§2 55 5202>525 52555<52,2<2
2220.2§._23.§ 25.$.§__0§ 2022.@.nv2r2~..20 2.§§0“$§ §.S§SY 05 52505250…: m>mm:g
2~».@2222“@2&222 23§..&§ 222¢..~22@.,0 § 2¥..§.$§ 3302.2222 55 52<2@53
222§~22,_m.m§ 2253.~ § 22.§§ 2§2.%§§§ §§Sna 05 055< 555
2 N.§QS§ 2 2 325§ 253 222.¢..§.22,.:§ 3.220§2§ 525052502,; 55552,522
2~.§2,_$§ 22 3,_§§ §.§.§ 222@.§22`2\ § 2222.222222_3£ 225.552,2:05 E§mm§
2 N.§QS§ 2 w:.@s§ 33 222@.§_._22§ 2222.22220.222§ 05 525me
2~.2:122.§2§ 22 S._§§ 322 220@.§,22§ OO.OOQSQ 05 mzo2e<02z:2>22>50 525;<2
32 .wm.§m§ §.ZQN§ 22.§,_20§ 2~.»2.§“2§ E.§§2.22 550 553
§.~§._§. § 2 2 .§,@m§ §.mmm..§ 2 ~.2.@.-§ 220.3§§"§ 5252§ <552
§~.23,.%§ 22.3@.¢§ 33 §.€20.2§ 2.2§§ 05 §Em>m Eoz>m§
§£§,0§ 2@.§.~2§ 22~..§.:§ ®2.~@2»2\~§ 2.32.2.~3.~2 52<>253 <z§
GQSQS§ 2~@.22§,_2 §§ §§ 2 l22§ §§ 2 §§ 25 2 G.§@.S m§o>£mz 52522522
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§§ 2 §§ 2$.®2»2§ 322.222222.§ §.%3~§ S.§§Q.$ 1255~<2
§.@:,._N:.§ 222.~.£.~,2 § 322.§.,§ 23.§»€§ 2 .2§6~2~.22 05 mmm§@§zm 25
Q~.F.~.H@§ 222.222@“%~§ 222.@2@,§ §.2§,~2§§ m~.m:.§£ 05 50<222>2
232.~§ §§ §. 225£2§ 220@.2.§~.,®2§ 22~.2_.,.§.§ 5.§.2$.22 550 00§
2 ~.2§._52§ 23 S,E§ 33 222¢..2§._§§ 2222.2222@.8£ 05 200.,§52,22
2.@.~,8.,£ § 22220..§§§ E.§.§ 22.2$.-§ 355st 05 52<>>$255
§§ 2 §§ 2§.@2§§ 252 2._~§ 232 2§2§ :.§2.§22 05 zm>0352m255
§.Sw§...§ 222@.@€,$2§ 83 2§.@.2§22.~2§ §.&2“~§.222 mzo;<02z:2>2200 m><>$m:5
§.®§,.22§§ 23.322.~2§ §.§.2§ 222@.§..22§ 22§2~`§.$ 550 525055205 52525255
2.».-@.2§2§ §.$.§§§ 222.@3.,20§ 225 2 §§ 3.32.2§2”~22 550 552…255
§.EQS§ 2%.§..@2\.§ 2 2_222. § 23.§22,,»~§ 2~.~£§.3 2<5<2 2255/2255 52,52&5

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2022 2 § 2§ 222 ....5.22§ 222@,22@§§ 2222.2;.2_»22 § -.52~£».22 05 222/2025<02555>50 0202>2
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CERTIFICATE OF SERVICE

l hereby certify that on the ZOlh day of November, 2009, l caused true and accurate copies

of the foregoing to be served by hand upon the following

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All other counsel of record to be served by LexisNexis File & Serve or First-Class mail.

/_/_l/‘l()£/v//V V\*` /_/j)m QA,¢~_,

Matthew Bucher

